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                                              EXHIBIT A

                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Norfolk Division

ePLUS, INC.,

                          Plaintiff,

v.                                                      Civil Action No.: 2:09cv232/HCM-TEM

PERFECT COMMERCE, INC.
SCIQUEST, INC.,
LAWSON SOFTWARE, INC. and
VERIAN TECHNOLOGIES, INC.,

                  Defendants.
______________________________________/

                      AGREED ORDER GRANTING EXTENSION OF TIME
                              TO RESPOND TO COMPLAINT

            On this day came the parties, by counsel, upon the Motion for an Extension of Time to

File Responsive Pleadings to the Complaint (“Motion for Extension of Time”) filed by the

Defendant Verian Technologies, Inc. (“Verian”) and, upon consideration of the arguments set

forth in the Motion for Extension of Time and for good cause shown, it is

            ORDERED that the Motion for Extension of Time filed by Verian is granted and shall

have through and including July 8, 2009 in which to answer, plead or otherwise respond to the

Complaint.

                                                Enter: _____/____/____



                                                Judge: __________________________________
                                                       United States District Court
                                                       Eastern District of Virginia




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WE ASK FOR THIS:




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AGREED:


___/s/ Scott L. Robertson_______

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